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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                   CR 14-84-GF-BMM-JTJ

                 Plaintiff,                FINDINGS AND
                                           RECOMMENDATIONS
       vs.

 JOHNNY LEE HAMILTON,

                 Defendant.


                                   I. Synopsis

      Defendant Johnny Lee Hamilton (Hamilton) has been accused of violating a

condition of his supervised release. Hamilton admitted the alleged violation.

Hamilton’s supervised release should be revoked. Hamilton should receive a

custodial sentence of time served, with no supervised release to follow.

                                    II. Status

      Hamilton pleaded guilty to Burglary on September 1, 2015. (Doc. 59). The

Court sentenced Hamilton to 18 months of custody, followed by 24 months of

supervised release. (Doc. 65). Hamilton’s current term of supervised release

began on January 21, 2017. (Doc. 70 at 1).



      Petition
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      The United States Probation Office filed a Petition on November 21, 2017,

requesting that the Court revoke Hamilton’s supervised release. (Doc. 70). The

Petition alleges that Hamilton violated the conditions of his supervised release by

failing to report to the United States Probation Office within 72 hours of his release

from imprisonment. (Doc. 70 at 1-2). United States District Judge Brian Morris

issued a warrant for Hamilton’s arrest on November 21, 2017. (Doc. 71).

      Initial appearance

      Hamilton appeared before the undersigned for his initial appearance on

December 4, 2018. (Doc. 75). Hamilton was represented by counsel. Hamilton

stated that he had read the petition and that he understood the allegation. Hamilton

waived his right to a preliminary hearing. The parties consented to proceed with

the revocation hearing before the undersigned.

      Revocation hearing

      The Court conducted a revocation hearing on December 4, 2018. Hamilton

admitted that he had violated the conditions of his supervised release by failing to

report to the United States Probation Office within 72 hours of his release from

imprisonment. The violation is serious and warrants revocation of Hamilton’s

supervised release.

      Hamilton’s violation is a Grade C violation. Hamilton’s criminal history


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category is II. Hamilton’s underlying offense is a Class C felony. Hamilton could

be incarcerated for up to 24 months. He could be ordered to remain on supervised

release for up to 24 months, less any custody time imposed. The United States

Sentencing Guidelines call for a term of custody of 4 to 10 months. Both Hamilton

and the government requested a term of custody of time served.

                                   III. Analysis

      Hamilton’s supervised release should be revoked. Hamilton should receive

a custodial sentence of time served, with no supervised release to follow. This

sentence is sufficient but not greater than necessary.

                                  IV. Conclusion

      The Court informed Hamilton that the above sentence would be

recommended to Judge Morris. The Court also informed Hamilton of his right to

object to these Findings and Recommendations within 14 days of their issuance.

The Court explained to Hamilton that Judge Morris would consider a timely

objection before making a final determination on whether to revoke his supervised

release and what, if any, sanction to impose. Hamilton stated that he wished to

waive his right to object to these Findings and Recommendations.



The Court FINDS:


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      That Johnny Lee Hamilton has violated the conditions of his supervised
      release by failing to report to the United States Probation Office within 72
      hours of his release from imprisonment.

The Court RECOMMENDS:

      That the District Court revoke Hamilton’s supervised release and commit
      Hamilton to the custody of the United States Bureau of Prisons for a term of
      time served, with no supervised release to follow.

      NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO OBJECT

      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to which

objection is made. The district judge may accept, reject, or modify, in whole or in

part, the Findings and Recommendations. Failure to timely file written objections

may bar a de novo determination by the district judge, and may waive the right to

appear and allocute before a district judge.

      DATED this 5th day of December, 2018.




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